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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 1:10-cv-24546-MOORE/McALILEY

  MARJAN MAZZA, on behalf of the
  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  MIAMI-DADE COUNTY,
  MIAMI-DADE TRANSIT DEPARTMENT,

         Defendants.
  _____________________________________/

                          UNITED STATES’ CONSENT TO DISMISSAL
         The United States of America, through the undersigned, hereby states as follows:
         1.      Relator Marjan Mazza and defendants Miami Dade County and Miami Dade
  Transit (collectively, “MDC”) have executed a written settlement agreement (“Agreement”) in
  compromise and settlement of the Relator’s claims against MDC. See D.E. 91. Relator and MDC
  have filed a Joint Notice of Dismissal of Relator’s claims against MDC in the action. D.E. 91.
         2.      The United States hereby consents to the dismissal, with prejudice, as to the United
  States, of the claims asserted by Relator in this action on behalf of the United States and against
  MDC for the Covered Conduct as described in the Agreement.
         3.      Pursuant to 31 U.S.C. § 3730(b)(1), the United States hereby consents to Relator’s
  voluntary dismissal of all other False Claims Act claims against MDC, provided such dismissal is
  without prejudice to the United States.
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   Principal Deputy Assistant Attorney General              United States Attorney

   MICHAEL D. GRANSTON                                      /s James A. Weinkle
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                                      CERTIFICATE OF SERVICE
          I hereby certify that on June 30, 2015, I electronically filed the foregoing document with the
  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this
  day on all counsel of record or pro se parties identified on the attached Service List in the manner
  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some
  other authorized manner for those counsel or parties who are not authorized to receive electronically
  Notices of Electronic Filing.
                                                               /s James A. Weinkle
                                                                  JAMES A. WEINKLE
                                                                  Assistant United States Attorney

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